          Case: 1:19-cv-00390 Document #: 11 Filed: 02/05/19 Page 1 of 1 PageID #:386

                                                 United States District Court
                                                 Northern District of Illinois

In the Matter of

 Hooters of America                                              District Judge Thomas M. Durkin
                          v.                                                 Case No. 19-CV-390
                                                                            Designated Magistrate Judge
 Tyson Foods, Inc., et al                                                             Michael T. Mason



                               FINDING OF RELATEDNESS PURSUANT TO
                                          LOCAL RULE 40.4

   In accordance with the provisions of Local Rule 40.4 of this Court, I find the above captioned
case, presently pending on the calendar of Judge Manish S. Shah to be related to 16 C 8637
which is pending on my calendar. Accordingly, I request that the Executive Committee order
said case to be reassigned to my calendar as a related case.



                                                            ________________________________
                                                                   Judge Thomas M. Durkin

Date: Tuesday, February 5, 2019



                               ORDER OF THE EXECUTIVE COMMITTEE

   IT IS HEREBY ORDERED that the above captioned case be reassigned to the calendar of
Judge Thomas M. Durkin


                                                       ENTER

                                     FOR THE EXECUTIVE COMMITTEE




                                                            _____________________________________
                                                                Chief Judge Ruben Castillo
Dated:Tuesday, February 5, 2019

District Reassignment - Finding of Relatedness
